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                 Exhibit B
  Proposed Temporary Restraining Order
                   and Other Orders
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     TRACY S. COMBS (California Bar No. 298664)
 1   Email: combst@sec.gov
     CASEY R. FRONK (Illinois Bar No. 6296535)
 2
     Email: fronckc@sec.gov
     SECURITIES AND EXCHANGE COMMISSION
 3
     351 South West Temple, Suite 6.100
 4
     Salt Lake City, Utah 84101
     Tel: (801) 524-5796
 5   Fax: (801) 524-3558

 6                            UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEVADA
 7

 8   SECURITIES AND EXCHANGE                    Case No.: 2:22-cv-00612
     COMMISSION,
 9                                              [PROPOSED] TEMPORARY
                 Plaintiff,                     RESTRAINING ORDER AND
10        vs.                                   ORDERS: (1) FREEZING ASSETS; (2)
                                                REQUIRING ACOUNTINGS; (3)
11   MATTHEW WADE BEASLEY; BEASLEY              PROHIBITING THE DESTRUCTION
     LAW GROUP PC; JEFFREY J. JUDD;             OF DOCUMENTS; AND (4)
12
     CHRISTOPHER R. HUMPHRIES; J&J              GRANTING EXPEDITED
     CONSULTING SERVICES, INC., an Alaska       DISCOVERY; AND (5) ORDER TO
13
     Corporation; J&J CONSULTING SERVICE,       SHOW CAUSE RE PRELIMINARY
                                                INJUNCTION
14   INC., a Nevada Corporation; J AND J
     PURCHASIN LLC; SHANE M. JAGER;
15   JASON M. JONGEWARD; DENNY
     SEYBERT; and ROLAND TANNER;
16
                 Defendants;
17
     THE JUDD IRREVOCABLE TRUST; PAJ
18   CONSULTING INC; BJ HOLDINGS LLC;
     STIRLING CONSULTING, L.L.C.; CJ
19   INVESTMENTS, LLC; JL2
     INVESTMENTS, LLC; ROCKING HORSE
20   PROPERTIES, LLC; TRIPLE THREAT
     BASKETBALL, LLC; ACAC LLC;
21
     ANTHONY MICHAEL ALBERTO, JR.; and
22
     MONTY CREW LLC;

23
                Relief Defendants.

24

25

26

27

28




                                            1
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 1          This matter came before the Court upon Plaintiff Securities and Exchange Commission’s
 2   Ex Parte Application for Temporary Restraining Order and Orders (1) Freezing Assets; (2)
 3   Requiring Accountings; (3) Prohibiting the Destruction of Documents; and (5) to Show Cause
 4   Re Preliminary Injunction (the “TRO Application”).
 5          The Court, having considered the Commission’s Complaint, the TRO Application and
 6   supporting memorandum of points and authorities, the supporting declarations and exhibits, and
 7   the other evidence and argument presented to the Court, finds that:
 8          A.      This Court has jurisdiction over the parties to, and the subject matter of, this
 9                  action.
10          B.      The Commission has made a sufficient and proper showing in support of the relief
11                  granted herein, as required by Section 20(b) of the Securities Act of 1933
12                  (“Securities Act”) [15 U.S.C. § 77t(b)] and Section 21(d) of the Securities
13                  Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78u(b)], by evidence
14                  establishing a prima facie case and likelihood that Defendants Matthew Wade

15                  Beasley, Christopher Ronn Humphries, Shane Michael Jager, Jason Myers

16                  Jongeward, Jeffrey Jason Judd, Denny Seybert, Roland Tanner, Beasley Law

17                  Group PC, J&J Consulting Services, Inc. (Alaska), J&J Consulting Services, Inc.

18                  (Nevada), and J and J Purchasing LLC (collectively herein, “Defendants”) have

19                  engaged in, are engaging in, are about to engage in, and will continue to engage

20                  in, unless restrained, transactions, acts, practices and courses of business that

21                  constitute violations of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

22                  Section 10(b) of the Securities Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-

23                  5 thereunder [17 C.F.R. § 240.10b-5]; Section 5(a) and (c) of the Securities Act

24                  [15 U.S.C. § 77e(a), (c)]; and/or Section 15(a)(1) of the Exchange Act [15 U.S.C.

25                  § 78o(a)(1)].

26          C.      Good cause exists to believe that, unless restrained and enjoined by order of this

27                  Court, Defendants, and Relief Defendants Anthony Michael Alberto, Jr., ACAC

28                  LLC, BJ Holdings LLC, CJ Investments LLC, JL2 Investments, LLC, Monty




                                                      2
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 1                  Crew LLC, PAJ Consulting Inc, Rocking Horse Properties LLC, Stirling
 2                  Consulting L.L.C., The Judd Irrevocable Trust, and Triple Threat Basketball, LLC
 3                  (collectively herein, “Relief Defendants”), will dissipate, conceal, or transfer
 4                  assets which could be the subject to an order directing disgorgement or the
 5                  payment of civil money penalties in this action. It is appropriate for the Court to
 6                  issue this Temporary Restraining Order so that prompt service on appropriate
 7                  financial institutions can be made, thus preventing the dissipation of assets.
 8          D.      Good cause exists to believe than an accounting of assets by each of the
 9                  Defendants is necessary.
10          E.      Good cause exists to believe that, unless restrained and enjoined by order of this
11                  Court, Defendants may alter or destroy documents relevant to this action.
12          F.      Good cause exists to believe that expedited discovery is necessary.
13                                                     I.
14          IT IS HEREBY ORDERED that the Commission’s TRO Application is GRANTED.

15                                                    II.

16          IT IS FURTHER ORDERED that Defendants and their officers, agents, servants,

17   employees, attorneys, subsidiaries and affiliates, and those persons in active concert or

18   participation with any of them, who receive actual notice of this Order, by personal service or

19   otherwise, and each of them, be and hereby are temporarily restrained and enjoined from,

20   directly or indirectly, in the offer or sale of any securities, by the use of any means or instruments

21   of transportation or communication in interstate commerce or by use of the mails:

22          A.      employing any device, scheme or artifice to defraud;

23          B.      obtaining money or property by means of any untrue statement of a material fact

24                  or any omission of a material fact necessary in order to make the statements

25                  made, in light of the circumstances under which they were made, not misleading;

26                  or

27          C.      engaging in any transaction, practice, or course of business which operates or

28                  would operate as a fraud or deceit upon the purchaser




                                                       3
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 1   in violation of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].
 2          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
 3   Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
 4   receive actual notice of this Order by personal service or otherwise: (a) Defendants’ officers,
 5   agents, servants, employees, and attorneys; and (b) other persons in active concert or
 6   participation with Defendants or with anyone described in (a).
 7                                                   III.
 8          IT IS FURTHER ORDERED that Defendants and their officers, agents, servants,
 9   employees, attorneys, subsidiaries and affiliates, and those persons in active concert or
10   participation with any of them, who receive actual notice of this Order, by personal service or
11   otherwise, and each of them, be and hereby are temporarily restrained and enjoined from,
12   directly or indirectly, in connection with the purchase or sale of any security, by use of any
13   means or instrumentality of interstate commerce, or of the mails, or of any facility of any
14   national securities exchange:

15          A.      employing any device, scheme or artifice to defraud

16          B.      making any untrue statement of a material fact or omitting to state a material fact

17                  necessary in order to make the statements made, in the light of the circumstances

18                  under which they were made, not misleading; or

19          C.      engaging in any act, practice, or course of business which operates or would

20                  operate as a fraud or deceit on upon any person

21   in violation of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5

22   thereunder [17 C.F.R. § 240.10b-5].

23          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

24   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this

25   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,

26   and attorneys; and (b) other persons in active concert or participation with Defendants or with

27   anyone described in (a).

28                                                   IV.




                                                      4
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 1          IT IS FURTHER ORDERED that Defendants and their officers, agents, servants,
 2   employees, attorneys, subsidiaries and affiliates, and those persons in active concert or
 3   participation with any of them, who receive actual notice of this Order, by personal service or
 4   otherwise, and each of them, be and hereby are temporarily restrained and enjoined from,
 5   directly or indirectly, in the absence of any applicable exemption:
 6          A.      unless a registration statement is in effect as to a security, making use of any
 7                  means or instruments of transportation or communication in interstate commerce
 8                  or of the mails to sell such security through the use or medium of any prospectus
 9                  or otherwise;
10          B.      unless a registration statement is in effect as to a security, carrying or causing to
11                  be carried through the mails or in interstate commerce, by any means or
12                  instruments of transportation, any such security for the purpose of sale or for
13                  delivery after sale; or;
14          C.      making use of any means or instruments of transportation or communication in

15                  interstate commerce or of the mails to offer to sell or offer to buy through the use

16                  or medium of any prospectus or otherwise any security, unless a registration

17                  statement has been filed with the Commission as to such security, or while the

18                  registration statement is the subject of a refusal order or stop order or (prior to the

19                  effective date of the registration statement) any public proceeding or examination

20                  under Section 8 of the Securities Act [15 U.S.C. § 77h].

21   in violation of Section 5 of the Securities Act [15 U.S.C. § 77e].

22          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

23   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this

24   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,

25   and attorneys; and (b) other persons in active concert or participation with Defendants or with

26   anyone described in (a).

27                                                    V.

28




                                                       5
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 1          IT IS FURTHER ORDERED that Defendants and their officers, agents, servants,
 2   employees, attorneys, subsidiaries and affiliates, and those persons in active concert or
 3   participation with any of them, who receive actual notice of this Order, by personal service or
 4   otherwise, and each of them, be and hereby are temporarily restrained and enjoined from,
 5   directly or indirectly, using any means or instrumentality of interstate commerce, or of the mails,
 6   or of any facility of any national securities exchange, to effect transactions in, or induce or
 7   attempt to induce the purchase or sale of, securities while not registered with the Commission as
 8   a broker or dealer or while not associated with an entity registered with the Commission as a
 9   broker or dealer in violation of Section 15(a)(1) of the Exchange Act [15 U.S.C. § 78o(a)(1)].
10          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
11   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this
12   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,
13   and attorneys; and (b) other persons in active concert or participation with Defendants or with
14   anyone described in (a).

15                                                    VI.

16          IT IS FURTHER ORDERED that Defendants Matthew W. Beasley, Jeffrey J. Judd,

17   Beasley Law Group PC, J&J Consulting Services, Inc. (Alaska), J&J Consulting Services, Inc.

18   (Nevada), and J and J Purchasing LLC, and their officers, agents, servants, employees, attorneys,

19   subsidiaries and affiliates, and those persons in active concert or participation with any of them,

20   who receive actual notice of this Order, by personal service or otherwise, and each of them, be

21   and hereby are temporarily restrained and enjoined from, directly or indirectly, issuing,

22   purchasing, or selling any security related to settled litigation claims, except for the purchase or

23   sale of securities listed on a national securities exchange by these Defendants for their own

24   personal accounts.

25          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

26   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this

27   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,

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 1   and attorneys; and (b) other persons in active concert or participation with Defendants or with
 2   anyone described in (a).
 3                                                    VII.
 4          IT IS FURTHER ORDERED that Defendants Christopher R. Humphries, Shane M.
 5   Jager, Jason M. Jongeward, Denny Seybert, and Roland Tanner, and their officers, agents,
 6   servants, employees, attorneys, subsidiaries and affiliates, and those persons in active concert or
 7   participation with any of them, who receive actual notice of this Order, by personal service or
 8   otherwise, and each of them, be and hereby are temporarily restrained and enjoined from,
 9   directly or indirectly, soliciting any person or entity to purchase or sell any security.
10          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
11   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this
12   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,
13   and attorneys; and (b) other persons in active concert or participation with Defendants or with
14   anyone described in (a)

15                                                   VIII.

16          IT IS FURTHER ORDERED that, except as otherwise ordered by this Court,

17   Defendants, Relief Defendants, and Defendants’ and Relief Defendants’ officers, agents,

18   servants, employees, attorneys, subsidiaries and affiliates, and those persons in active concert or

19   participation with any of them, who receive actual notice of this Order, by personal service or

20   otherwise, and each of them, be and hereby are temporarily restrained and enjoined from,

21   directly or indirectly, transferring, assigning, selling, hypothecating, changing, wasting,

22   dissipating, converting, concealing, encumbering, or otherwise disposing of, in any manner, any

23   funds, assets, securities, claims or other real or personal property, including any notes or deeds of

24   trust or other interest in real property, wherever located, of any one of the Defendants or Relief

25   Defendants, or their subsidiaries or affiliates, owned by, controlled by, managed by or in the

26   possession or custody of any of them and from transferring, encumbering, dissipating, incurring

27   charges or cash advances on any debit or credit card of the credit arrangement of any one of the

28




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 1   Defendants or their subsidiaries and affiliates; including but not limited to the real and personal
 2   property below:
 3          Real Property
 4         Property Address                               Owner
 5         9 Sky Arc Court, Henderson, Nevada             The Judd Irrevocable Trust
 6         89012
 7         APN: 178-33-610-039
 8         8 Twisted Rock Court, Nevada 89012             The Judd Irrevocable Trust
 9         APN: 178-33-510-037
10         7329 Ravines Avenue, Las Vegas                 The Judd Irrevocable Trust
11         Nevada 89131
12         APN: 125-10-115-020
13         599 N. Red Mountain Court, Heber City,         The Judd Irrevocable Trust
14         Utah 84032
15         APN: 00-0021 -0348
16         2314 E. La Sal Peak Drive, Heber City,         The Judd Irrevocable Trust
17         Utah 84032
18         APN: 00-0021-1113
19         19 Sky Arc Court, Henderson, Nevada            Jager Trust
20         89012
21         APN: 178-33-210-004
22         29 Rockstream Drive, Henderson,                Jager Trust
23         Nevada 89012
24         APN: 178-33-213-010
25         16 Paradise Valley Court, Henderson,           Jager Trust
26         Nevada 89052
27         APN: 190-08-612-003
28




                                                      8
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 1   Property Address                                Owner
 2   2394 E. La Sal Peak Drive, Heber City,          Jager Trust
 3   Utah 84032
 4   APN: 00-0021-1104
 5   2364 E. La Sal Peak Dr., Heber City,            Jager Trust
 6   Utah 84032
 7   APN: 00-0021-1105
 8   4015 Calle Lisa, San Clemente,                  Jager Trust
 9   California 92672
10   APN: 060-231-23
11   5475 Ruffian Road, Las Vegas, Nevada            Matthew and Paula Beasley
12   89149
13   APN: 126-36-501-029
14   5485 Ruffian Rd. Las Vegas, Nevada              Matthew and Paula Beasley
15   89149
16   APN: 126-36-501-030
17   Real property located at the corner of W.       Matthew and Paula Beasley
18   Stephen Ave. & Ruffian Rd., Las Vegas,
19   Nevada 89149
20   APN: 126-36-501-031
21

22   Real property located at the corner of W.       Matthew and Paula Beasley
23   Hammer Ln. & Ruffian Rd., Las Vegas,
24   Nevada 89149
25   APN: 126-36-501-017
26   2143 Via Regina Coeli Street, Mt.               Matthew and Paula Beasley
27   Charleston, Nevada 89124
28   APN: 129-02-410-074



                                                 9
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 1          Personal Property
 2          2021 Bentley GT convertible
 3          2020 Rolls Royce Dawn
 4          2022 Rolls Royce Cullinan
 5          2019 Ferrari 812 Superfast
 6          Hawker 900XP private jet
 7          2021 Bentley Continental
 8          2020 Bentley Continental
 9          2020 Mercedes Benz G63 AMG
10          Two 2020 Porsche Taycans
11          2020 Ashton Martin Vantage
12          2018 Porsche 911
13          2020 Porsche Cayenne
14          2019 Cadillac Escalade

15          2019 Lexus LX

16          2017 Chevrolet Corvette Z06

17          2018 Land Rover Range Rover

18          2018 Chevrolet Camaro

19          2018 Mercedes Benz E43 AMG

20          2019 Toyota 4Runner

21          RVs of unknown year, make and model

22          ATVs of unknown year, make and model

23          Boats of unknown year, make and model

24                                                 IX.

25          IT IS FURTHER ORDERED that, except as otherwise ordered by this Court, an

26   immediate freeze shall be placed on all monies and assets (with an allowance for necessary and

27   reasonable living expenses to be granted only upon good cause shown by application to the

28   Court with notice to and an opportunity for the Commission to be heard) in all accounts at any




                                                    10
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 1   bank, financial institution or brokerage firm, or third-payment payment processor, all certificates
 2   of deposit, and other funds or assets, held in the name of, for the benefit of, or over which
 3   account authority is held by Defendants and Relief Defendants, including but not limited to the
 4   accounts listed below:
 5
        BROKERAGE / BANK               ACCOUNT NAME                      ACCOUNT NUMBER
 6
        NAME
 7

 8
        Wells Fargo                    Beasley Law Group PC              XXXXXX5580

 9
        Bank of Nevada                 Beasley Law Group PC (NV          XXXXXX5598

10
                                       IOLTA Acct)

11      Wells Fargo                    Beasley Law Group PC (NV          XXXXXX8898

12                                     IOLTA Acct)

13      Wells Fargo                    Bugraiders Pest Control, LLC      XXXXXX0377

14      Wells Fargo                    Bugraiders Pest Control, LLC      XXXXXX9745

15      Wells Fargo                    CJ Investments LLC                XXXXXX6358

16      Wells Fargo                    Jessica A Humphries &             XXXXXX0836

17                                     Christopher R Humphries

18      Wells Fargo                    Jessica A Humphries &             XXXXXX2164

19                                     Christopher R Humphries

20      Wells Fargo                    Jessica A Humphries &             XXXXXX5547

21                                     Christopher R Humphries

22      Wells Fargo                    J & J Consulting                  XXXXXX0153
23      Wells Fargo                    Nevada Pro Pest Control Inc.;     XXXXXX6540
24                                     dba Nevada Pest Control; dba
25                                     Pigeons Be Gone
26      Wells Fargo                    Stirling Consulting LLC           XXXXXX6558
27      Wells Fargo                    Shane Jager                       XXXXXX09335
28




                                                      11
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     BROKERAGE / BANK       ACCOUNT NAME                    ACCOUNT NUMBER
 1
     NAME
 2

 3
     Wells Fargo            Nevada Pro Pest Control Inc.;   XXXXXX1189

 4
                            dba Nevada Pest Control; dba

 5
                            Pigeons Be Gone

 6   Wells Fargo            Triple Threat Basketball,       XXXXXX2948

 7                          LLC

 8   Wells Fargo            Triple Threat Basketball,       XXXXXX9671

 9                          LLC

10   Wells Fargo            Triple Threat Basketball,       XXXXXX2643

11                          LLC

12   Wells Fargo            Triple Threat Basketball,       XXXXXX3578

13                          LLC (savings)

14   US Bank                Judd Nevada Trust; Jeffrey J    XXXXXXXX0331

15                          Judd Trustee; Jennifer R Judd

16                          Trustee

17   US Bank                Jeffrey Judd                    XXXXXXXX4223

18   US Bank                Jeffrey Judd                    XXXXXXXX4207

19   US Bank                CJ Investments LLC              XXXXXXXX0526
20   US Bank                Target Marketing Insurance      XXXXXXXX0841
21                          Services Inc
22   US Bank                The CJ Humphries                XXXXXXXX0913
23                          Foundation
24   US Bank                Christopher Ronn                XXXXXXXX1591
25                          Humphries; Jessica Allison
26                          Humphries
27   US Bank                J&J Consulting Services, Inc    XXXXXXXX2073
28




                                           12
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     BROKERAGE / BANK       ACCOUNT NAME                    ACCOUNT NUMBER
 1
     NAME
 2

 3
     US Bank                Target Managers Insurance       XXXXXXXX3156

 4
                            Services Inc

 5   US Bank                The Judd Family Foundation      XXXXXXXX3495

 6   US Bank                Matthew W Beasley; Paula C      XXXXXXXX4338

 7                          Beasley; Matthew Beasley

 8   US Bank                Jeffrey J Judd Tstee/Grnt;      XXXXXXXX5473

 9                          Judd Family Trust; Jennifer R

10                          Judd Trustee

11   US Bank                Jeffrey J Judd Tstee/Grnt;      XXXXXXXX6245

12                          Judd Family Trust; Jennifer R

13                          Judd Trustee

14   US Bank                Matthew W Beasley; Paula C      XXXXXXXX7143

15                          Beasley; Matthew Beasley

16   US Bank                Christopher Ronn                XXXXXXXX8067

17                          Humphries; Jessica Allison

18                          Humphries

19   US Bank                Judd Nevada Trust; Jeffrey J    XXXXXXXX3033

20                          Judd Trustee; Jennifer R Judd

21                          Trustee

22   US Bank                Expert Litigation Services Inc XXXXX9682
23   US Bank                PAJ Consulting Inc              XXXXXXXX3503
24   US Bank                Priscilla Rosegreen; Warren     XXXXXXXX4389
25                          Rosegreen
26   US Bank                Priscilla Rosegreen; Warren     XXXXXXXX9713
27                          Rosegreen
28   US Bank                BJ Holdings LLC                 XXXXXXXX0010



                                           13
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        BROKERAGE / BANK               ACCOUNT NAME                     ACCOUNT NUMBER
 1
        NAME
 2

 3
        Citibank                       Warren Rosegreen                 XXXXXXX2878

 4

 5          Any bank, financial institution or brokerage firm, or third-party payment processor

 6
     holding such monies or assets described above shall hold and retain within their control and

 7
     prohibit the withdrawal, removal, transfer or other disposal of any such funds or other assets

 8
     except as otherwise ordered by this Court.

 9
                                                     X.

10
            IT IS FURTHER ORDERED that Defendants, within five days of the issuance of this

11
     Order, shall prepare and deliver to the Commission a detailed and complete schedule of all of

12
     their personal assets, including all real and personal property exceeding $5,000 in value, and all

13
     bank, securities, and other accounts identified by institution, branch address and account number.

14
     The accounting shall include a description of the sources of all such assets. Such accounting

15
     shall be simultaneously filed with the Court and a copy shall be delivered to the Commission to

16
     the attention of Tracy S. Combs, counsel for the Commission, by electronic mail at

17
     combst@sec.gov. After completion of the accounting, each of the Defendants shall produce to

18
     the Commission, at a time agreeable to the Commission, all books, records and other documents

19
     supporting or underlying their accounting.
                                                     XI.
20

21
            IT IS FURTHER ORDERED that any person who receives actual notice of this Order by
     personal service or otherwise, and who holds, possesses or controls assets exceeding $5,000 for
22
     the account or benefit of any one of the Defendants, shall within 5 days of receiving actual notice
23
     of this Order provide counsel for the Commission with a written statement identifying all such
24
     assets, the value of such assets, or best approximation thereof, and any account numbers or
25
     account names in which the assets are held.
26
                                                    XII.
27

28




                                                     14
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 1          IT IS FURTHER ORDERED that, except as otherwise ordered by this Court, each of the
 2   Defendants, and their officers, agents, servants, employees, attorneys, subsidiaries and affiliates,
 3   and those persons in active concert or participation with any of them, who receive actual notice
 4   of this Order, by personal service or otherwise, and each of them, be and hereby are temporarily
 5   restrained and enjoined from, directly or indirectly: destroying, mutilating, concealing,
 6   transferring, altering, or otherwise disposing of, in any manner, any documents, which includes
 7   all books, records, computer programs, computer files, computer printouts, contracts, emails,
 8   correspondence, memoranda, brochures, or any other documents of any kind in their possession,
 9   custody or control, however created, produced, or stored (manually, mechanically, electronically,
10   or otherwise) pertaining in any manner to Defendants or to the allegations alleged in the
11   Commission’s complaint.
12                                                  XIII.
13          IT IS FURTHER ORDERED that the Commission’s application for expedited discovery
14   concerning Defendants and their assets and activities is granted and that, commencing with the

15   time and date of this Order, in lieu of the time periods, notice provisions, and other requirements

16   of Rules 26, 30, 33, 34, 36, and 45 of the Federal Rules of Civil Procedure and the corresponding

17   Local Rules of this Court, discovery shall proceed as follows:

18          A.      Pursuant to Rule 30(a) of the Federal Rules of Civil Procedure, the Commission

19                  may take video depositions of parties or any third parties upon oral examination

20                  on two days’ notice of any such depositions. Depositions may be taken Monday

21                  through Saturday. As to Defendants, and their agents, servants, promoters,

22                  employees, brokers, associates, and any person who transferred money to or

23                  received money from the bank accounts identified above, the Commission may

24                  depose such witnesses after service a deposition notice by facsimile, electronic

25                  mail, hand or overnight courier upon such individuals, and without serving a

26                  subpoena on such witness. Depositions that have not been signed by the witness

27                  may be used for purposes of the hearing on the SEC’s application for preliminary

28                  injunction;




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 1          B.      Pursuant to Rule 45 and the applicable provisions in the Securities Act and
 2                  Exchange Act, each party may serve subpoenas to third parties; and
 3          C.      All discovery requests and responses may be served via email, facsimile, or by
 4                  hand on counsel for the parties.
 5                                                   XIV.
 6          IT IS FURTHER ORDERED that the representatives of the Commission and any other
 7   government agency are authorized to have continuing access to inspect or copy any or all of the
 8   corporate books and records and other documents of Defendants and their subsidiaries and
 9   affiliates, and continuing access to inspect their funds, property, assets and collateral, wherever
10   located.
11                                                     XV.
12          IT IS FURTHER ORDERED that this Temporary Restraining Order shall expire on April
13   22, 2022 unless for good cause shown it is extended or the parties against whom it is directed
14   consent that it may be extended for a longer period.

15                                                   XVI.

16          IT IS FURTHER ORDERED that on April 21, 2022 at 10:00 a.m., the Defendants, and

17   each of them, shall appear before the Honorable James C. Mahan, Judge of the United States

18   District Court of Nevada, for a hearing to show cause, if there be any, why a preliminary

19   injunction should not be granted. Any declarations, affidavits, points and authorities in

20   opposition to, the issuance of such an Order shall be filed with the Court and emailed to Tracy S.

21   Combs, counsel for the Commission, at combst@sec.gov, and the offices of the Defendants or

22   their attorneys no later than 4:00 p.m., on Tuesday, April 19, 2022.

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 1                                                  XVII.
 2           IT IS FURTHER ORDERED that this Court shall retain jurisdiction over this action for
 3   the purpose of implementing and carrying out the terms of all orders and decrees which may be
 4   entered herein and to entertain any suitable application or motion for additional relief within the
 5   jurisdiction of this Court.
 6

 7           IT IS SO ORDERED.
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             Date: ________________                         ______________________________
 9
             Time:________________                          JAMES C. MAHAN
10                                                          UNITED STATES DISTRICT JUDGE

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16   Presented by:
     Tracy S. Combs
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     Casey R. Fronk
18   Attorneys for Plaintiff
     Securities and Exchange Commission
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